   Case: 4:22-cv-00683-CDP Doc. #: 12 Filed: 08/16/22 Page: 1 of 1 PageID #: 48


                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

 ANTHEA WENG,                                     )
                                                  )
             Plaintiff(s),                        )
                                                  )
        v.                                        )        No. 4:22-CV-00683-SRW
                                                  )
 WASHINGTON UNIVERSITY IN SAINT                   )
 LOUIS,                                           )
                                                  )
             Defendant(s).                        )


                                            ORDER

       Pursuant to Local Rule 2.08, a request has been received for random reassignment of this

case to a District Judge.

      IT IS HEREBY ORDERED that the above styled cause is randomly reassigned from

Magistrate Judge Stephen R. Welby to District Judge Catherine D. Perry.

August 16, 2022                                Gregory J. Linhares                   /
Date                                           Clerk of Court

                                         By: /s/ Jacqueline Parker              /
                                             JACQUELINE PARKER
                                             Deputy Clerk


In all future documents filed with the Court, please use the following case number:
4:22-CV-00683-CDP
